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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

JOHN DOE #1, et al.                        )
                                           )
             Plaintiffs,                   )
      vs.                                  )
                                           ) CIVIL ACTION NO.
LLOYD AUSTIN, III, in his official
                                           ) 3:21-cv-01211-TKW-HTC
capacity as Secretary of Defense, et al.
                                           )
            Defendants.                    )




                           PLAINTIFFS’ REPLY BRIEF




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                                 INTRODUCTION

      Defendants’ lengthy response boils down to one central point. The Executive

has the unreviewable power to unilaterally impose vaccine mandates on the entire

U.S. population. Plaintiffs and hundreds of thousands of other unvaccinated service

members with excellent service records face the prospect of being expelled from

the military, and into a job market where they will be unemployable due to other

federal mandates and their discharge status and blemished service records. 1

      Courts normally defer to the armed forces and public health authorities on

administrative actions and apply rational basis review. This Court should not do so

here where the asserted national security and public health justifications are merely

a pretext for an unprecedented, unlawful, and unconstitutional expansion of federal

administrative authority. Nor should it do so where the necessary and foreseeable

consequences of the administrative action will counter to its stated purpose, and the

means chosen to achieve the end are overbroad, disproportional, and unnecessarily

cruel and punitive.



1
 This proceeding seeking declaratory and injunctive relief is the only opportunity
Plaintiffs have to challenge this unlawful and unconstitutional order, or any resulting
employment, constitutional, or vaccine-related injuries. Feres v. United States, 340
U.S. 135, 71 S.Ct. 153, 95 L.Ed. 152 (1950) is an absolute bar against any subsequent
suit against the United States or the Armed Services, and the Public Readiness and
Emergency Preparedness Act (“PREP Act”), 42 U.S.C. §§ 247d-6d and 6e, is an
impenetrable liability shield for the manufacturers.
                                          1
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      The DOD Mandate does not promote national security, public health, or

military readiness. It is in fact an employment regulation that is part of a broader

set of federal mandates applicable to all U.S. citizens and lawful residents as a

condition to work (and soon for education as well). Nor will it advance military

health or readiness. According to Defendants, a total of 23 active-duty service

members in 2020 and 2021. See ECF No. 31-14, Rans Decl., ¶ 10. The

hospitalization rate is less than one percent (1%), and the survival rate is 99.98%

(i.e., conversely the mortality rate is one in 5,000). ECF No. 1, Compl., ¶ 43. This

compares to annual average of over 1,200 deaths (or 100 times the COVID-19

deaths) in the period from 2006-2021 (nearly 80% of which were not combat-

related), 2 while there were 580 deaths from suicide alone in 2020. 3

      The DOD Mandate, and Armed Services implementation thereof, threatens

the expulsion and severe punishment of hundreds of thousands of unvaccinated

service members. 4 While rates vary greatly by component and duty status, each



2
 See Ex. 3, Congressional Research Service, Trends in Active-Duty Military Deaths
Since 2006, Table I, In Focus (May 17, 2021).
3
 See Meghann Myers, Military Suicides up 16 Percent in 2020, But Official Don’t
Blame Pandemic, Military Times (Sept. 30, 2021), available at:
https://www.militarytimes.com/news/pentagon-congress/2021/09/30/military-
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Oct. 24, 2021).
4
 See Joseph Choi, Hundreds of Thousands of U.S. Troops Still Unvaccinated Ahead
of First Deadline: Report, THE HILL (Oct. 10, 2021), available at:
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component stands to lose at least 10% and up to 50% or more of its personnel, id.,

including highly decorated, experienced and combat-tested service members like

Plaintiffs. These losses would be catastrophic for readiness and render most units

not capable of performing their missions. Plaintiffs raise this point not to second

guess the DOD’s military experts, but rather to demonstrate the absurdity of their

claim that losing hundreds of thousands to save dozens of lives promotes readiness

or the “health and welfare of the troops.” ECF No. 31, Def. Opp’n, at 1.

      Turning to Defendants’ response, Defendants fail to acknowledge the glaring

contradiction between the DOD Mandate itself, which is expressly limited to

licensed vaccines, and the Armed Services Guidance that mandates use of EUA

vaccines “as if” or “interchangeably” with licensed vaccines. It is thus the Armed

Services themselves that appear to be disobeying a direct order. This Court should

direct the Armed Services to comply with the DOD Mandate, and bar the

mandatory administration of any EUA-labeled or manufactured vaccine.

      With respect to Defendants’ constitutional claims, this Court must not be

fooled by Defendants’ assertions of national security of emergency authorities.

“Even in a pandemic, the Constitution cannot be put away and forgotten.” Roman

Catholic Diocese of Brooklyn v. Cuomo, --- U.S. ---, 141 S.Ct. 63, 68, 208 L.Ed.2d


https://thehill.com/policy/defense/576144-hundreds-of-thousands-of-us-troops-
still-unvaccinated-ahead-of-first-military (last visited Oct. 24, 2021).
                                         3
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206 (2020) (“Cuomo”). The Constitution does not grant the Executive, or

unelected, unaccountable and purportedly unreviewable agencies unlimited power

to unilaterally rule the nation, without any judicial oversight or congressional

authorization. This Court must apply the strictest scrutiny to Defendants’ actions.

                    JURISDICTION AND JUSTICIABILITY
      A.     Plaintiffs’ Claims Are Ripe and Justiciable.

      In the Eleventh Circuit, claims by service members against the armed

services are normally non-justiciable, except for “facial challenges to military

regulations.” Speigner v. Alexander, 248 F.3d 1292, 1296 (11th Cir. 2001).

Plaintiffs’ claims are facial challenges to a generally applicable military regulation

based on allegations that the DOD and Armed Services Defendants “acted

arbitrarily and capriciously by failing to adhere to statutes and regulations.” John

Doe No. 1 v. Rumsfeld, 297 F.Supp.2d 119, 128 (D.D.C. 2003) (“Rumsfeld I”).

      Plaintiffs are not challenging discrete individualized personnel or

disciplinary actions,5 and therefore need not wait for “final disciplinary action,”

ECF No. 31, Def. Opp’n, at 12, for their facial challenge to become ripe. If

Plaintiffs were to wait for the institution of courts-martial proceedings or final

5
  “[T]he governing rule” in the Second, Fifth, Seventh, Eighth, Ninth, Eleventh and
D.C. Circuits “allow[s] equitable challenges to personnel decisions only when they
constitute facial challenges to the constitutionality of military regulations, and not in
cases of discrete individualized actions.” Dibble v. Fenimore, 339 F.3d 120, 126 (2d
Cir. 2003).
                                           4
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disciplinary actions, as Defendants urge, then this court would lose jurisdiction over

Plaintiffs’ claims.

      B.     Plaintiffs Have Exhausted Available Administrative Remedies, But
             Are Not Required to Pursue Such Remedies if Unavailable or
             Inapplicable to Their Claims Before This Court.

      Defendants erroneously claim that “Plaintiffs’ claims are not ripe because no

plaintiff exhausted available administrative remedies.” ECF No. 31, Def. Opp’n,

at 12. Once again, Plaintiffs are facially challenging generally applicable

regulations, rather than to individualized personnel and disciplinary actions. In any

case, Plaintiffs have exhausted administrative remedies, or have been denied any

recourse to administrative remedies, which gives rise to their cause of action.

      First, with respect to medical exemptions, the DOD Mandate and Armed

Services Guidance categorically exclude exemptions based on natural immunity

from previous infections. See ECF No. 31-2, DOD Mandate, at 1. Accordingly,

there are no administrative remedies to pursue for John Doe #9 and #10.

Nevertheless, John Doe #10 requested exemption was denied, while John Doe #3

was informed that he was not eligible for exemption based on history of cancer.6

      Second, with respect to religious accommodation requests, Plaintiffs have

not claimed any violations of the First Amendment or any statutes governing


6
 John Doe #3 was identified to Defendants on October 22, 2021, after the filing of
Defendants’ Response.
                                          5
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religious freedom or expression, nor do they seek any relief based on violations of

religious freedom or discrimination. Ripeness does not require Plaintiffs to pursue

administrative remedies, or await a final determination, on claims that are unrelated

to, or have not been made, in their Complaint to this Court. 7

      C.     Plaintiffs Have Standing for Claims Against FDA.

      Defendants contend that Plaintiffs lack standing to challenge the FDA’s

actions because their injuries from hte DOD Mandate are not traceable to the FDA,

and further cannot be redressed by this Court. ECF No. 31, Def. Opp’n, at 28.

Defendants’ arguments are foreclosed by John Doe No. 1 v. Rumsfeld, 341

F.Supp.2d 1 (D.D.C. 2004) (“Rumsfeld II”), where the court held that service

members had standing to sue the FDA for the same relief that Plaintiffs seek here,

namely: (1) to vacate FDA’s unlawful approval of a vaccine and (2) to enjoin the

DOD from mandatory administration of a vaccine unlawfully approved by FDA.

See Rumsfeld II, 341 F.Supp.2d at 9.

      Regarding causation, the FDA’s actions in re-issuing the EUA for the

BioNTech Vaccine and licensing Comirnaty are both the proximate and but for

cause of Plaintiffs’ injuries. The FDA Comirnaty Approval provided the legal

predicate for the DOD Mandate, which permits only FDA licensed vaccines to be


7
  Certain Plaintiffs, including Jane Doe #2 and John Doe #11 have already had their
religious accommodation requests denied.
                                          6
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mandate. Further, the DOD Mandate was issued the very next day, demonstrating

that the timing of the mandate was also driven by FDA approval. The FDA’s

statutory violations are also the cause of injury Plaintiffs will suffer if they are

required to take an EUA vaccine under the mandate. Defendants concede that

“DOD relied on [FDA’s] determination” that the EUA and licensed vaccine “can

be used interchangeably” for its directive that the BioNTech EUA Vaccine may be

mandated. See ECF No. 31, Def. Opp’n, at 21.

      Defendants’ assertion that the FDA’s licensure and the DOD Mandate were

“independent decision[s]” is not plausible. 8 The President is the Commander-in-

Chief, and the Defendant administrative agencies are under the direct control of the

President who serve at his pleasure. They are engaged in concerted action to adopt

near universal vaccine mandates for all U.S. citizens and legal residents. See ECF

No. 1, Compl., Section II (“Federal Vaccine Mandates”).




8
  Defendants’ reliance on Null v. FDA, 2009 WL 10744069 (D.D.C. Nov. 10, 2009),
is misplaced because it addressed a New York state mandate (which had been
enjoined), rather than a federal mandate. The independence of federal and state
actions in our federal system of dual sovereignty is not in dispute. In any case, the
court in Null acknowledged that the discussion was “purely academic” because the
state mandate had already been enjoined. Null, 2009 WL 10744069, at *3.
                                         7
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                                  ARGUMENT

      A.    Plaintiffs Have a Substantial Likelihood of Success on the Merits.

            1.     DOD and Armed Services Violated DOD Directives,
                   Regulations, APA and/or Informed Consent Statutes.

                   a)    Armed Services Guidance Violates DOD Mandate.
      In the DOD Mandate, SECDEF Austin directed that mandatory vaccination

“will only use COVID-19 vaccines that receive full licensure from the [FDA].”

ECF No. 31-2, DOD Mandate, at 1.9 Defendants’ response appears to confirm that

the DOD Mandate does not require or permit the use of EUA vaccines pursuant to

the mandate. ECF No. 31, Def. Opp’n, at 19-20. Plaintiffs and Defendants thus

appear to be in full agreement that EUA vaccines may not be mandated.

      Defendants’ Response fails, however, to acknowledge that the Air Force

Guidance and the Surgeon Generals Guidance expressly permit the use of EUA-

labeled and manufactured products “interchangeably” with and/or “as if” they were

the licensed product. See ECF No. 31-11, Air Force Guidance, § 3.1.1 and ECF



9
  DOD’s position here is consistent with its position reported in the July 6, 2021
Memorandum Opinion for the Deputy Counsel to the President, Whether Section
564 for the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use
of a Vaccine Subject to an Emergency Use Authorization (July 6, 2021) (“OLC EUA
Opinion”) (attached as Ex. 4). There, the DOJ stated that DOD interpreted the
informed consent requirements in 10 U.S.C. § 1107a “to mean that DOD may not
require service members to take an EUA [vaccine]” without first obtaining a
Presidential Waiver under 10 U.S.C. § 1107a. Id. at 16 (citations omitted). DOD has
not obtained a Presidential Waiver.
                                        8
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No. 31-3, Surgeons General Memo, at 1. There appears to be a direct conflict

between the DOD’s directive that only fully licensed vaccines may be mandated,

and the Air Force and the Surgeon Generals Guidance that mandate EUA vaccines.

      The Defendants’ Response does resolve this contradiction, as it appears to

adopt both the DOD position that only licensed vaccines may be mandated, while

also advancing the Air Force and FDA position that EUA and licensed vaccines are

interchangeable. See ECF No. 31, Def. Opp’n, at 21. This Court must direct the

DOD and Armed Services to strictly comply with the DOD Mandate, and enjoin

the Armed Services from mandatory administration of an EUA vaccine.

                   b)    DOD Mandate & Regulations Are Subject to APA.
      Defendants claim that the DOD Mandate is exempt from the APA’s

requirements under 5 U.S.C. 553(a)(1), which exempts a “military or foreign affairs

function” from APA’s rulemaking provisions. See ECF No. 31, Def. Opp’n, at 22

(quoting 5 U.S.C. 553(a)(1)) (emphasis added). Defendants cite U.S. v. Mingo, 964

F.3d 134, 2017 WL 11576680 (2d Cir. 2020) (“Mingo”), which explains that this

narrow exception is so “rarely invoked” that the few cases addressing it provide

“only limited guidance.” Mingo, 2017 WL 11576680, *4. Mingo goes on to discuss

lndep. Guard Ass'n of Nevada, Local No. I v. O'Leary on Behalf of US Dep't of

Energy, 57 F.3d 766 (9th Cir. 1995), which held that “the statutory language …

instructs us to look not to whether … the agency promulgating a regulation is

                                         9
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‘civilian’ or ‘military,’ but to the function being regulated.” Indep. Guard Ass’n,

57 F.3d at 769 (emphasis added).10

      The DOD Mandate is not issued pursuant to any specifically “military

function,” and thus is not exempt from the APA’s rulemaking requirements.

Instead, the DOD Mandate is one piece in the larger federal administrative scheme

to impose nearly universal federal vaccine mandates (affecting 100 million

Americans) as a condition for employment. See ECF No. 6, Compl., Section II.

      The DOD’s asserted justifications—military health and military readiness—

are belied by the facts, and should be considered pretextual justifications that are

not due deference by this Court. The health and safety rationale is belied by the

DOD’s own numbers. See ECF No. 31-14 (23 active-duty deaths in 2020 and 2021)

& ECF 6, Compl., ¶ 43 (survival rate of 99.98%). DOD claims that the DOD

Mandate is needed for military readiness are not plausible, because the vaccine

mandate itself will create a crisis in readiness, as it may ultimately result in loss of

10% to 30% or more in combat and aviation units across the board.




10
   The functional approach is also consistent with the statute’s legislative history,
where Congress rejected proposals to categorically exempt the Army and Navy
“since the bill relates to functions, rather than agencies, it would seem better to
define functions.” Id. (quoting S.Rep. No. 752, 79th Cong. 1st Sess. 13 (1945)).
                                           10
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                   c)    DOD Mandate & Armed Services Guidance Violate
                         AR 40-562 by Eliminating Exemption for Previous
                         Infection and Other Medical Conditions.
      The DOD Mandate and Armed Services Guidance uniformly violate AR 40-

562 by eliminating the exemption for those with a documented previous infection,

which remains in full effect. See ECF 31-5, AR 40-562, para. 2-6(a)(1)(b); see also

ECF No. 31-2, DOD Mandate, at 1. The DOD is also refusing exemptions for

underlying health conditions that would have previously been granted exemptions.

See id., para. 2-6(a)(1)(a). The DOD and Armed Services’ policy deprives nearly

250,000 service members of a presumptive right to exemption to which they are

currently entitled under AR 40-562. See ECF 31-14, Rans Declaration, at 8, Table:

“DOD COVID-19 Cumulative Deaths”) (247,583 Military Cases).

      Defendants do not dispute that service members with a documented previous

infection are not exempt, though their response is silent on DOD’s justification or

rationale for reading these exemptions out of its own regulations. Accordingly,

Natural Immunity Plaintiffs and others with previous infections or other relevant

conditions should be able to rely on this provision to receive medical exemptions.

                   d)    DOD and Armed Services’ Violation of Informed
                         Consent Requirements.
      Defendants argue that the informed consent requirements in 10 U.S.C.

§ 1107a “require informed consent in certain limited circumstances that are not


                                        11
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applicable to the facts of this case.” ECF No. 31, Def. Opp’n, at 19. 11 Defendants

are correct that the DOD Mandate itself provides that “[m]andatory vaccination

against COVID-19 will only use COVID-19 vaccines that receive full licensure.”

ECF No. 31, Def. Opp’n, at 20 (quoting ECF No. 6-2, DOD Mandate, at 1). But

this statement ignores the Air Force Guidance and the Surgeons General Guidance

that permit or require EUA vaccines to be administered pursuant to the mandate.

      This appears to be an admission by Defendant DOD, the author of the

mandate, that EUA vaccines cannot be mandated. Accordingly, the Court should

enter a declaratory judgment immediately adopting this apparently undisputed

finding – that EUA vaccines may not be mandated – and issue a TRO enjoining

any Defendant DOD and Armed Services from administering an EUA vaccine

pursuant to the mandate.

            2.     FDA Violations of FDCA, PHSA and APA in Re-Issuing
                   BioNTech EUA and Comirnaty Licensure.

                   a)      EUA Are Determinations Subject to Judicial Review.
      Defendants erroneously assert that the Secretary’s EUA determinations



11
   Defendants attempt to distinguish the Doe v. Rumsfeld line of cases that enjoined
a similar DOD vaccine mandate on the fact that Rumsfeld I addressed an anthrax
vaccine was initially an investigational new drug (“IND”), rather than an EUA
vaccine. See ECF No. 31, Def. Opp’n, at 19-20. This ignores the fact that, after the
FDA granted EUA status to the anthrax vaccine, the injunction continued in full
force and was expanded to enjoin administration of EUA vaccines. See John Doe #1
v. Rumsfeld, 2005 WL 774857, at *1 (D.D.C. Feb. 6, 2005) (“Rumsfeld III”).
                                        12
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under 21 U.S.C. § 360bbb-3 (“EUA Statute”) are exempt from judicial review. ECF

No. 31, Def. Opp’n, at 42. In doing so, Defendants conflate 5 U.S.C. § 701(a)(1)

(statutes that expressly and categorically “preclude judicial review” altogether)

with 5 U.S.C. § 701(a)(2) (actions “committed to agency discretion”).

      The Supreme Court and the Eleventh Circuit have read 5 U.S.C. § 701(a)(2)

very narrowly to permit APA review where, as under the EUA statute, there are

meaningful standards for review. The Supreme Court has noted the “tension”

between the prohibition of judicial review for actions “committed to agency

discretion” and the command in § 706(2)(A) that courts set aside any agency action

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” Weyerhauser Co. v. U.S. Fish and Wildlife Servs., 139 S. Ct. 361, 370,

202 L.Ed.2d 269 (2018) (citation omitted). To give effect to § 706(2)(A) and to

honor the presumption of review, the Supreme Court reads the exception in

§ 701(a)(2) quite narrowly, restricting it to “those rare circumstances where the

relevant statute is drawn so that a court would have no meaningful standard against

which to judge the agency's exercise of discretion,” such as agency enforcement.

Id. (citation and quotation omitted).12


12
  The 11th Circuit and this district review agency decisions committed to agency
discretion where there is a meaningful standard for review. See, e.g., People for
Ethical Treatment of Animals, Inc. v. USDA, 851 Fed.Appx. 896, 899 (11th Cir.
2021) (permitting judicial review of agency licensing decision) (“PETA”); Fla.
                                         13
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       Further, even where a statute like EUA Statute uses permissive language

such as “may,” this does not preclude review where it concerns a challenge, like

Plaintiffs make here, that an administrative agency “did not consider all relevant

factor that the statute sets forth to guide the agency in the exercise of its discretion.”

Id. at 371. See also Dep’t of Commerce v. New York, 139 S. Ct. 2551, 204 L.Ed.2d

978 (2019).

       The EUA Statute, 21 U.S.C. § 360bbb-3, provides clear and meaningful

standards of review. Section 564(c)(1)-(4) sets forth three required conditions that

must be met for the initial grant of the EUA. Section 564(g)(2) sets forth clear and

specific conditions for revision and revocation of the EUA; while permissive, these

conditions are sufficiently clear to permit judicial review under Weyerhauser.

Finally, and most importantly, Section 564(b)(2) set forth mandatory conditions for

revocation of declaration with respect to a product where, as here, there has been a

change in the approval status of the product such that the circumstances under

Section 564(a)(2), 21 U.S.C. § 360bbb-3(a)(2), cease to exist (i.e., an unapproved

EUA product becomes approved).13


Wildlife Fed., Inc. v. Jackson, 2011 WL 13112090, at *2 (N.D. Fla. Sept. 30, 2011).
See also
13
  The lone case cited by Defendants, Ass’n of Am. Physicians & Surgeons v. FDA,
2020 WL 574974 (6th Cir. Sept. 24, 2020) (“AAPS”), addressed a complaint
dismissed on grounds of associational standing, and did not reach the merits.
Accordingly, AAPS’s categorical preclusion of judicial review is both dicta and non-
                                       14
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                   b)    FDA Approval of Comirnaty Violated PHSA and APA.

      Defendants erroneously claim that Plaintiffs “cit[ed] and quot[ed] the wrong

statute” in challenging the FDA’s action, as is their suggestion that Plaintiffs

asserted that a biologic must be “approved pursuant to a New Drug Application.”

ECF No. 31, Def. Opp’n, at 34. The PHSA’s substantive requirements for approval

and clinical trials are largely identical to those under the FDCA. The PHSA, 42

U.S.C. § 262(j), directs the FDA to apply the requirements of FDCA Section 505,

21 U.S.C. § 355, for approval of drugs to vaccines and other biologics; the primary

difference is that the PHSA application requirements are governed by the PHSA

requirements in 42 U.S.C. § 262(a), rather than FDCA requirements in 42 U.S.C.

§ 355(a).14

      Exclusion of Special Populations. Contrary to the FDA’s assertion,

Pfizer/BioNTech and other COVID-19 vaccine developers intentionally excluded

those with previous infections from clinical trials. See Ex. 1, McCullough Decl.,

¶ 48. The FDA asserts that some may have inadvertently been included—



binding insofar as it is inconsistent with Weyerhauser, PETA, and Rumsfeld III,
where the court retained jurisdiction for challenges to “the lawfulness or merits of
any EUA.” Rumsfeld III, 2005 WL 774857, at *1.
14
   Clinical trials for both drugs and biologics are governed by 21 C.F.R. § 312.2.
Further, while effectiveness is not a statutory requirement under the PHSA, the FDA
treats “potency” under the PHSA as equivalent to “effectiveness” under the FDCA.
See ECF No. 31-13, Marks Decl., at 2 n.1.
                                        15
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“approximately 3% … had evidence of prior infection,” ECF No. 31, Def. Opp’n,

at 37—but there is no indication that this was confirmed, that they were analyzed

separately, or that there were sufficient numbers, or that they were properly

distributed among treatment groups, for the data to be statistically significant.

      Advisory Committee Hearing and Review. While Advisory Committee

hearing and review is not mandatory, ECF No. 31, Def. Opp’n, at 39 (citing 21

C.F.R. 14.171(a)), the Comirnaty application met nearly all the criteria for “high

priority” under 21 C.F.R. § 14.171(a) (any one of which would have sufficed),

including: (i) “pose significant safety hazards;” (ii) “narrow benefit-risk

considerations,” at least for special populations that include Plaintiffs (and service

members who are younger and healthier than the general population); (iii) utilizes

“novel delivery system or formulation;” (iv) “subject of major scientific or public

controversy,” i.e., safety and vaccine mandates; and (v) “subject to special

regulatory requirements,” namely the vaccine mandates and the unjustified

“interchangeability” determination for EUA vaccines. 21 C.F.R. § 14.171(a).

While the regulation is discretionary, this regulation provides meaningful standards

that permit judicial review under Weyerhauser and PETA. Under these standards,

the FDA abused its discretion by refusing to require Advisory Committee hearing

and review for Comirnaty.



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                    c)     FDA Approval of Comirnaty Was Based on
                           Impermissible and Extra-Statutory Criteria.

      FDA has failed to justify its numerous violations of FDCA, PHSA and APA

requirements, as well as its own regulations, rules, procedures and the June 2020

Industry Guidance. See ECF No. 31-2, October 6 TRO Brief, at 15-24 & 27-31.

FDA’s actions can be much more easily explained when considered in light of its

overriding goal: enabling the DOD and the Executive Branch to impose vaccine

mandates on pre-determined schedules. Plaintiffs do not contend that “acting

expeditiously” in itself is evidence of “bad faith.” ECF No. 31, Def. Opp’n, at 33.

But when such shortcuts are combined with evidence of improper purposes,

political interference, statutory and regulatory violations, and significant departures

from normal decision-making processes, this constitutes evidence of “the FDA’s

bad faith that renders its decision arbitrary and capricious.” Tummino v. Torti, 603

F.Supp.2d 519, 544 (E.D.N.Y. 2009).

                    d)     Interchangeability Determination Is Contrary to Law.
      There is no statutory authority, and no precedent, for the FDA’s

determination that an EUA vaccine may be used “interchangeably” with a licensed

vaccine (much less that the FDA can retroactively license an EUA product). The

FDA concedes as much where it claims that this determination was a “factual” or

“scientific”, rather than a legal, determination. ECF No. 31, Def. Opp’n, at 47.

      “Interchangeable” is a specifically defined statutory terms under the PHSA,
                                         17
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and to find product “interchangeable” requires the FDA and applicants to follow

specific set of procedures set forth in the statute before making this determination.15

See ECF No. 3-2, October 6 TRO Motion, at 29-31. The FDA concedes that these

procedures were not followed, and the FDA did not make any legal determinations.

This is confirmed by the FDA’s failure to list any products as “interchangeable”

with Comirnaty in the FDA’s Purple Book.16

      The FDA asserts that it has decided to exercise “enforcement discretion with

respect to certain labeling” and manufacturing requirements, ECF No. 31-13,

Marks Declaration, ¶ 13, and that this somehow converts an EUA vaccine into a

licensed vaccine. See ECF No. 31, Def. Opp’n, at 21. The FDA does not explain



15
    The BioNTech EUA Expansion Letter used the specific statutory
“interchangeable” and “interchangeably” in a manner that could only be read as the
FDA making a legal determination under the PHSA, a legal determination on which
the DOD, the Air Force, and Surgeon Generals apparently relied. See ECF No. 31,
Def. Opp’n, at 21 (citing ECF No. 31-3, Surgeon Generals Memo). It is only after
being challenged that the FDA now retreats to take the position it was not a legal
determination, but rather a factual or scientific determination, that apparently has no
legal significance. An agency’s post hoc rationalization for its litigation position
cannot be accorded deference. See Yu v. Shinseki, 2014 WL 259845, at *1 (Vet. App.
Jan. 24, 2014) (citation and quotation omitted).
16
   See FDA, Purple Book Database of Licensed Biological Products, available at:
https://purplebooksearch.fda.gov/. A query for Comirnaty in the Purple Book
database returns the result, under “Interchangeable(s)” that there are “[n]o
interchangeable data at this time.” See FDA, Purple Book Database of Licensed
Biological     Products:      Simply     Search  Results   for:    Comirnaty
https://purplebooksearch.fda.gov/results?query=COVID-
19%20Vaccine,%20mRNA&title=Comirnaty (accessed Oct. 24, 2021).
                                          18
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how non-enforcement of its statutory duties can convert an unlicensed product,

which the DOD acknowledges cannot be mandated, into a licensed product.

Licensing is an affirmative, reviewable action by FDA. FDA has cited no statute,

regulation, rule or precedent that would permit its non-enforcement inaction to

retroactively license an unlicensed product, or convert an unlicensed product into

a licensed one.

      Finally, Defendants incorrectly assert that that the FDA’s interchangeability

finding is “undisputed.” See ECF No. 31, Def. Opp’n, at 46. Plaintiffs have never

conceded that the two products are interchangeable or have the “same formulation,”

or that the FDA has approved the same manufacturing standards. Nor could they

given that the FDA’s redaction of essential information regarding drug formulation,

composition, testing, storage, and manufacturing.17 There is no basis in the public

record for the FDA’s determination, or for Plaintiffs to evaluate or challenge these

“factual” claims.

                    e)    Same Product Cannot Simultaneously Be Licensed and
                          Unlicensed for Same Indication or Use.

      In the October 6 TRO Motion, Plaintiffs explained that the same product


17
  See ECF No. 1-4, FDA Comirnaty Approval Letter, at 1-2 (redacted information
regarding Comirnaty manufacturing locations and formulation); ECF No. 1-5,
Comirnaty SBRA, at 6-8 (redactions for Comirnaty manufacturing overview, drug
substance, drug product, drug composition, diluent, etc.), 12-13 (manufacturing
facility and testing information) and 15 (testing).
                                         19
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cannot simultaneously be licensed and unlicensed (i.e., EUA) for the same

indication or use, nor can it simultaneously be subject to two mutually exclusive

regulatory regimes. See ECF No. 3-2, October 6 TRO Motion, at 27-29.

Defendants’ response has not demonstrated otherwise; instead, it appears to

confirm that Comirnaty is simply not available, or in Defendants’ terms “in

existence,” at present. See ECF No. 31, Def. Opp’n, at 43. If licensed Comirnaty is

not “in existence,” then this Court should enjoin the DOD Mandate until it is.

                   f)    Defendants’ Challenges to Plaintiffs’ Expert Witness
                         Are Without Merit and Procedurally Improper.
      Defendants’ challenges to the qualifications and testimony of Dr. Jane Ruby,

see ECF No. 31, Def. Opp’n, at 35-36, are without merit. 18 While Dr. Ruby is not

an MD, she does hold multiple doctorates and additional graduate degrees in

relevant fields. See ECF No. 1-18, Ex. A (Dr. Ruby CV). More importantly, she

has “over 20 years of experience in pharmaceutical drug development,” including

serving “as a principal investigator for multi-center randomized, placebo-

controlled trials in the United States and ROW,” as well as “interfacing with FDA

guidance documents, regulations, and submission review,” like those at issue here.

ECF No. 1-18, Ruby Aff., ¶ 8.


18
   To the extent Defendants seek to exclude Dr. Ruby’s testimony pursuant to
Daubert v. Merrell Dow Pharma., Inc., 509 U.S. 579 (1993), their request is
premature and procedurally improper.
                                        20
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      Plaintiffs have also included the testimony of Dr. Peter McCullough in

support of the Complaint and TRO Motions. Dr. McCullough is an MD and is

widely recognized as one of, if not the, leading experts on cardiovascular and

chronic kidney disease, with over 1,000 related scientific publications. Ex. 1,

McCullough Decl., ¶ 5. As relevant here, Dr. McCullough has been a leader in the

medical response to COVID-19 in general, and in the development of effective

outpatient treatments that obviate the need for dangerous experimental vaccines,

and he has published 47 peer-reviewed publications on COVID-19 cited in the

National Library of Medicine. Id.

             3.    Defendants Violated Plaintiffs’ Constitutional Rights
                   a)     DOD Mandate Violates Plaintiffs’ Substantive Due
                          Process Rights to Refuse Unwanted, Unnecessary, and
                          Unproven Experimental Medical Treatment.

      This Court must apply strict scrutiny for violations of substantive due process

rights, and consequent violations of protected liberty and property interests and

enumerated constitutional rights. Such application would be consistent with the

Supreme Court’s holding in Cuomo, where it rejected rational basis review in favor

of strict scrutiny for evaluating pandemic-related restrictions of fundamental rights.

“Even in a pandemic, the Constitution cannot be put away and forgotten.” Cuomo,

141 S.Ct. at 68 (citing Jacobson v. Massachusetts, 197 U.S. 11, 24-25, 25 S.Ct. 358,

49 L.Ed. 643 (1905) (“Jacobson”)).

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      Defendants propose that rational basis is appropriate because the mandate

does not burden Plaintiffs’ fundamental rights, citing Jacobson in support. See ECF

No. 31, Def. Opp’n, at 49. The Jacobson case is irrelevant to this matter, as it

addressed mandates imposed by a State legislature under its “inherent police power.”

Klaassen v. Trustees of Ind. Univ., 2021 WL 3073926, at *17 (N.D. Ind. July 18,

2021), aff’d, 7 F.4th 592 (7th Cir. 2021) (citing Jacobson, 197 U.S. at 24-25).

      Defendants’ overall reliance on the history of vaccination does not make the

right to bodily autonomy – including the right to not receive experimental vaccines

in light of valid medical and religious exemptions – any less fundamental. It does,

however, leave service members and the general public vulnerable to the types of

experimental vaccines they seek to mandate here. The danger of the rational basis

review proposed by Defendants is that it “allows the government to justify a law

with rational speculation unsupported by evidence or empirical data.” Silvester v.

Becerra, 138 S.Ct. 945, 948, 200 L.Ed.2d 293 (2018) (Thomas, J., dissenting).

      Defendants’ position is contrary to broader legal principles over medical

treatment. Courts have rejected the near-limitless bounds of governmental power

over bodily autonomy that Defendants advocate: “the Constitution’s due process

guarantee protects an individual’s liberty to decide whether or not to submit to

serious medical treatment.” Doe v. Sullivan, 938 F.2d 1370, 1383 (D.C. Cir. 1991)

(“Sullivan”). See also Ammend v. BioPort, Inc., 322 F.Supp.2d 848, 871 (W.D.
                                         22
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Mich. 2004) (“Several federal courts have found violations of the fundamental right

to bodily integrity in medical experiments on humans.”).

                   b)     DOD Mandate Is Unconstitutional Even Under
                          Rational Basis Standard of Review.
      Even if this court were to apply the rational basis standard, Plaintiffs have met

their burden. For example, there is no rational basis for the difference in treatment,

with respect to the vaccine mandate, between an unvaccinated service member and

one who has natural immunity. This is especially true when considering the

superiority of natural immunity to the short-lived immunity of the vaccinated.

      The weight of scientific evidence, and the history and general principles of

virology, demonstrate that “natural immunity confers longer lasting and stronger

protection against infection, symptomatic disease and hospitalization caused by the

Delta variant of SARS-CoV-2” compared to BioNTech vaccine immunity. ECF

No. 1, Compl., ¶ 99 (discussing “Israeli Study”); see also id. ¶¶ 100-102 (discussing

“Cleveland Clinic Study” and “Longitudinal Study”). Dr. McCullough discusses the

Murchu Study of 615,777 previously infected individuals, which found a re-

infection rate of less than one percent (<1%) over the long term (including periods

where the Delta variant is dominant). See Ex. 1, McCullough Decl., ¶ 57.

      The provable effectiveness of natural immunity obliterates Defendants’

argument that vaccination of the naturally immune is necessary to maintain “a


                                         23
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healthy and ready force of warfighters” and “in preventing the spread of infectious

disease.” ECF No. 31, Def. Opp’n, at 52. Moreover, the fact that Defendants target

those with natural immunity and disregard their medical exemptions proves

Defendants’ policy is driven by improper animus. See Trump v. Hawaii, 138 S.Ct.

2392, 2420 (2018) (quoting Dep’t of Agriculture v. Moreno, 413 U.S. 528, 534

(1973) (noting that the Court has struck down policies as illegitimate under rational

basis where “a common thread has been that the laws at issue lack any purpose other

than a ‘bare. . . desire to harm a politically unpopular group’”).

         Additionally, Defendants’ acts of discrimination, if analyzed under rational

basis review, are improper and unlawful, in that they are done in furtherance of a

broader plan to vaccinate nearly every American, regardless of need, medical

conditions, religious exemptions, contraindications, side effects/adverse reactions,

or contrary data. At the same time, the federal government remains committed to not

require vaccination – or even testing – for the millions of aliens illegally flooding

over our borders. While Defendants justify their position on vaccine mandates on

Sullivan, that reliance is ultimately misplaced as that court was presented with

different considerations and different FDA rules for the conditions of waiving

informed consent. See Sullivan, 938 F.2d at 1374. Defendants seem to suggest that

they can mandate vaccines at any time for any reason; Sullivan stands for no such

thing.
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      B.     Plaintiffs Will Suffer Irreparable Harm.

      Plaintiffs face injury that is actual and imminent if relief is not granted.19 For

example, servicemembers have been threatened with administrative action and have

been declared ineligible for training or future deployment; John Doe #3 did not

receive a stratification statement from a senior officer due to his exemption request;

John Doe #5 faces punishment if his religious exemption is granted; and John Doe

#13 faces administrative separation even though he works from home. See Ex. 2,

Plaintiffs’ Supp. Decls.

      These injuries are guaranteed by the policies of the services. For example,

Navy Guidance (NAVADMIN 225/21) requires immediate relief from command

and the commencement of Detachment for Cause (“DFC”) of any senior leader who

is not vaccinated. It further requires the enlisted to be processed-out of not fully

vaccinated by November 28, 201, and permits the recoupment of bonuses or

incentives and for costs of training and education. Additionally, Marine Corps

Guidance provides that the vaccine mandate “constitutes a lawful general order and

any violation of these provisions is punishable as a violation of article 92” of the

UCMJ. ECF No. 1, Compl., ¶¶ 56-57.


19
  In support, Plaintiffs have filed redacted declarations as Exhibit 2. The unredacted
declarations and supporting documents (e.g., antibody results and other records with
personally identifying information) will be filed separately pursuant to the Protective
Order issued October 12, 2021.
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      Defendants misconstrue the harm Plaintiffs face, stating that “no one will

physically force them” to be vaccinated. ECF No. 31, Def. Opp’n, at 55. In doing

so, Defendants downplay the pressure they themselves are placing on Plaintiffs and

ignore the irreparable consequences of not getting the experimental vaccine, which

includes potential dishonorable discharge, imprisonment, future unemployabilitay

and inability to support themselves or their families, loss of veterans, retirement and

other benefits, and loss of constitutional rights. Despite Defendants’ arguments to

the contrary, federal courts have granted injunctive relief in military discharge cases.

See Chilcott v. Orr, 747 F.2d 29, 34 (1st Cir. 1984).

      Defendants further argue that Plaintiffs do not face irreparable harm because

they could “later be made whole.” ECF No. 31, Def. Opp’n, at 58. Defendants do

not adequately explain how Plaintiffs could be “made whole” after they lose their

livelihoods and are severely punished, and they ignore the constitutional rights at

issue in this matter and the presumption of injury they carry. In the Eleventh Circuit,

alleged violations of the right to privacy, which includes the right to bodily integrity

at issue here, presumptively cause irreparable injury. See Ne. Fla. Chapter of Ass’n

of Gen. Contractors v. City of Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir.

1990) (citations omitted). Restrictions on fundamental and constitutional rights –

such as those faced by Plaintiffs in the present case, including their rights secured



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by the Second Amendment – are sufficient to establish irreparable harm. Obama for

America v. Husted, 697 F.3d 423, 436 (6th Cir. 2012).

      The denial of an injunction, preventing Plaintiffs from being coerced into

accepting an experimental vaccine, or else lose their careers, freedom, and future

livelihoods, is an injury that cannot be undone and will permanently prevent

Plaintiffs from exercising their right to refuse unwanted, unnecessary, and unproven

experimental medical treatments. Further, “requiring a person to submit to an

inoculation without informed consent or the presidential waiver is an irreparable

harm for which there is no monetary relief.” Rumsfeld I, 297 F.Supp.2d at 135.

      The fact that Plaintiffs’ economic interests and constitutional rights are tied-

in together support a finding of irreparable harm. See E. St. Louis Laborers v. Bellon

Wrecking Co., 414 F.3d 700, 705 (7th Cir. 2005) (“Our conclusion that the union

would suffer irreparable harm was driven in large part by the practical impossibility

of fashioning a damage remedy under these circumstances.”). This is the precise type

of case where a plaintiff may suffer irreparable harm “where the nature of the loss

makes monetary damages difficult to calculate.” Somerset House, Inc. v. Turnock,

900 F.2d 1012, 1018 (7th Cir. 1990).

      C.     The Balance of Equities (Including the Public Interest) Weighs
             Heavily in Plaintiff’s Favor.

      A preliminary injunction is proper when “the balance of equities tips in [its]


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favor, and that an injunction is in the public interest.” Winter v. NRDC, 555 U.S. 7,

20, 129 S. Ct. 365, 172 L.Ed.2d 249 (2008). “These factors merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435, 129 S. Ct.

1749, 173 L.Ed.2d 550 (2009).

      “[T]here is a strong public interest in requiring that the plaintiffs’

constitutional rights no longer be violated[.]” Laube v. Haley, 234 F. Supp.2d 1227,

1252 (M.D. Ala. 2002). That is true even though COVID-19 is involved. Cf.

Cuomo, 141 S. Ct. at 68. Therefore, the mandate and any implementation thereof

by the Armed Services must be enjoined to allow Court the time to determine

whether federal administrative agencies have the legal authority to impose vaccine

mandates and to deprive citizens of their freedom, livelihoods, and fundamental

rights for non-compliance.




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                                 CONCLUSION

      For these reasons, the Court should immediately grant an administrative

stay of the DOD and FDA proceedings. This Court should also issue a declaratory

judgment, and enter a TRO against the DOD Vaccine Mandate, the Armed

Services’ implementation thereof to Plaintiffs, and the FDA Comirnaty Approval,

for the reasons discussed herein and in Plaintiffs’ TRO Motions.

                                      Respectfully Submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this submission contains 6,678 words according to

Microsoft Word’s word count function, and as such is in compliance with L.R.

7.1(F), and the Court’s October 19, 2021 Scheduling Order.

                         CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Reply

Brief to Defendants’ Opposition to Plaintiffs’ TRO Motions using the CM/ECF

system, and that I have delivered the filing to the Defendants by email and FedEx

at the following addresses and any other parties required to receive service.

This 24th day of October, 2021.
                                        Respectfully Submitted,
                                        /s/ Ibrahim Reyes
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